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                     UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF FLORIDA
                              MIAMI DIVISION
                             www.flsb.uscourts.gov

 In re:                                         Chapter 11 Cases

 BIRD GLOBAL, INC., et al.,                     Case No. 23-20514-CLC

          Debtors                               (Jointly Administered)


             NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

          TO ALL PARTIES, PLEASE TAKE NOTICE that Donna Jackson Tchirkow,

Individually and as a Representative of the Estate of Nicholas Tchirkow (Tchirkow), by

and through the undersigned counsel, files this Notice of Appearance and Request for

Service in the above-captioned case, pursuant to Rules 2002, 3017, 9007, and 9010 of the

Federal Rules of Bankruptcy Procedure, and 11 U.S.C. §§ 102(1), 342, and 1109(b), and

requests that copies of all notices and pleadings given or filed in this bankruptcy case be

given and served upon Tchirkow by serving:

                                   Vincent F. Alexander
                                 SHUTTS & BOWEN LLP
                           201 East Las Olas Blvd., Suite 2200
                               Fort Lauderdale, FL 33301
                                  (954) 524-5505-main
                                  (954) 847-3835-direct
                                (954) 524-5506-facsimile
                                VAlexander@shutts.com
                                  Florida Bar No. 68114

          PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only

the notices and papers referred to in the Rules specified above, but also includes, without

limitation, all orders, notices, hearing dates, applications, motions, petitions, requests,

complaints, demands, replies, answers, schedule of assets and liabilities, statement of

affairs, operating reports, plans of reorganization, and disclosure statements, whether



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formal or informal, whether written or oral, and whether transmitted or conveyed by mail,

courier service, delivery, telephone, facsimile, telegraph, telex, telefax or otherwise.

       PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request

for Service is not intended as consent pursuant to 28 U.S.C. § 157(c)(2) or waiver of:

(1) the liquidation or estimation of unliquidated claims for purposes of distribution,

reserved for Article III adjudication pursuant to 28 U.S.C. § 157(b)(2)(B); (2) the right to

trial by jury pursuant to 28 U.S.C. § 1411; (3) the right to contest jurisdiction or

appropriate venue; and (4) any other rights, claims, actions, or defenses in law, in equity,

or otherwise that may be available under applicable law, which Harrick expressly

reserves.

       Respectfully submitted this 21st day of March 2024.


                                           /s/ Vincent F. Alexander
                                           Vincent F. Alexander
                                           SHUTTS & BOWEN LLP
                                           201 East Las Olas Blvd., Suite 2200
                                           Fort Lauderdale, FL 33301
                                           (954) 524-5505-main
                                           (954) 847-3835-direct
                                           (954) 524-5506-facsimile
                                           VAlexander@shutts.com
                                           Florida Bar No. 68114

                                           ATTORNEY FOR DONNA JACKSON
                                           TCHIRKOW, INDIVIDUALLY AND A
                                           REPRESENTATIVE OF THE ESTATE OF
                                           NICHOLAS TCHIRKOW




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                           CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing Notice of Appearance

and Request for Service has been served on counsel for Debtors, Debtors, and all parties

receiving or entitled to notice through CM/ECF on this 21st day of March 2024.



                                        /s/ Vincent F. Alexander
                                        Vincent F. Alexander




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